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Case 3:08-CV-OO760-.]PG Document 1 Filed 10/30/08 Page 2 of 14 Page |D #2
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lLLlNO|S DEPARTMENT OF CORRECT|ONS

Menta| Hea|th Diagnostic and Treatment Note

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EXl'ttlo t-l~ `E\l€alua:l'~lci")
Of`fender Name!Mounson Hean 8/5/08 lD#N73406

 

 

 

Juveni|e Faci|ities Only:

 

 

 

 

Housing Unit: Correctiona| Counse|or:
Psychiatrist: Psych Medication:
Menta| Hea|th Leve|: Recommended Mental Hea|th Leve|:

 

 

Reason for Referra|:
I:I initial Eva\uat'\on I:I Medication Review \_'____\ Menta\Health LevelChange l:] Crisis Response

l:l Group Note I:I 1:1Note I:l Paro|e C|earance I:I I;°ami|y Therapy EI OtherComperencyE\/al

Subjecfive Data: Mr. Mounson reported that he wanted help to get out of Tamms He mpcrted that he didn't like to be around
people that hated him. He described various ways in which he was "tortured" over the past twenty years he has spent in IDOC. He
reported that he was intentionally infected with Hepatitis C because he wouldn't conform to the rules He also made reference to a
conspiracy that judges and Illinois Administration have against him. He referred to himself as a victim and innocent. When I
inquired about his current treatment and dipgnosis he was able to tell me that he had cancer of the throat which he referred to as
"squeamish" but he recognized that there was a 90% rate of successful recov@/ with treatment. He also understood that if he did
not receive the treatment that the cancer could spread. and he could die. He also understood that he could potentially have to have
surgeg to remove the cancer if he did not comply with the treatment. He reported that he did want treatment but not under the
circumstances The circumstances he was referring to seem to involve a Lieutenant that he reported that he had argued with but
that now takes him to his treatments daily, He also reported on one occasion he refused to go because he wasn't allowed; soap and
thereforg was malodorous and did not want to go to radiation while he was malodorous He stated that might cause the person
giving the radiation to give him too much. At various times throughout the interview he referenced death as a solution to his
problems. But he also stated that he does not want to give up but wanted to transfer to another institution to start over with a new
leaf. HeLported various religious experiences and beliefs For example he stated that people around Tamms are devil
worshipers. He reported that in 2004 he actually saw two female staff members on separate occasions transform their faces into
"heinous creatures." He also referred to various staff as witches. He described an event in the past where God revealed to him that
there was a guy present at his court hearings who was trying to kill him. He gported that he believed this because of the w the
man looked at him and that he seemed to enter and leave the court room when Mr. Mounson did. He stated that most everyone
hated him but he also acknoleged that when people were kind to him that he suspected their motivations and believed they had
ulterior motives He ultimately acknowledged that ihis put people in a difficult position because there was no behavior that they

could engage in that he would not be suspicious of. He acknowledged that he did have a tendency to view people in a suspicious
way.

ObjeCtiVe DataZMost of Mr. Mounspn's history was obtained from review of extensive records His past psychiatric histo;y includes a litany
of diagnoses and medications Amoung these diagnoses are Schizoaf`f`ective DisordeL Bipolar Disorder. Maior Depressive Disorder. lntennittent
Explosive Disorder, Somatofonn disorder, Paranoid Personalig disorder, Adjustment Disorder with mixed disturbance of emotions and conduct,
Antisocial Personality Disorder, Schizog@al Personalig Disorder, Borderline Personality Disorder and no diagnoses. Among previous

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Mental Hea|th Evaluation Mounson. Henry N73406 8/5/08 Page 2 E`k i,_i=q\:}\; ’_ Eval M&-+;e n

medications he has received are included Prolixin. Sinequan. Mellaril. Desvrel. Trazadone. Elavil. Prozac, Navane. Loxitane\ Tegr_eto_lar_id
Haldol. lt seems that at least on two occasions the medications were enforced and this was subsequent to aggressive acting out behavior. His
a_ggr_es_sion seems to be illicited by beingreiected by female staff members to whom he professed his love. They also seem to be illicted by his
feelings of persecution or refusals of various types His history includes many of the symptoms he reported today especially involving the
religious preoccupation and somewhat odd spiritual beliefs involving a connection with God and perception of demons. He has also previously
reported feelings that his food and medications were being tampered with and that there were conspiracies against him. He has consistently been
suspicious of the motivations of others lie has consistently reported inadequate treatment of his physical. mental health and legal needs He has
consistently regarded those around him as hating him or otherwise being against him in some way. He has also consistently engaged in
inappropriate sexual behaviors including mastrubating or exposing himself in front of female staff. He has also sent inappromat&exual letters
and made inappropriate sexual comments to mainly female staff. There do seem to be episodes wherein the religious aspects of his beliefs and
granoid features become more prominent. and he appears psychotic. However he has episodes that last years wherein these characteristics
although present are not necessarily prominent or excessive. However. his tendency to view others as persecutorv is a consistent phenomenon
Egprding his past medical history. he has H_§pptitis C and is currently being treated for squ_amous cell carcinoma of the true vocal cords. He was
advised by his onocologist to undergo at least 35 radiation treatments He‘s also had a histog of pep-tic ulcer disease lie has NKDA. He is
currently taking Drn pain medication as well as a gargle prescribed by the onocologist. Regarding his substance abuse-history. most consistently
he has reported abuse of marijuana for approximately 13 years He has been incarcerated in IDOC since 1987. He has been transferred back and
forth fi'om various prisons throughout this time including Pontiac, Stateville. MenMnd Dixon. He has reported no family history of mental
illness Records indicate that he was born in Mississippi that his pprents divorced at some point. There are various reports regprding the number
of brothers and sisters he has but he seems to have a number of them. One report indicates that he has 5 living sisters, two having died and 4
brothers He w§gpelled from high school in the l l‘h grade apparently for inappropriate sexual behavior. He did not have much of an
employment his_tm. He was in special education classes There was some issue as to his intellectual functioning. There is no official scored
testing however the Tamms psycholgoist did perform a Gamma to assess his intellectual functioning: and although she did not submit a formal
report. she did indicate on the raw data that his score was 91 indicating an average level of intelligence which is also consistent with my
evaluation and review of written mgterial he has submitted. Another significant symptom he has manifested throughout the y_e_ars is self-injurious
behavior. None of this has been particularly severe. He usually makes cuts that will induce bleeding and then picks at the scabs at later episodes
He has been on mulitple crisis watches Records indicate that freguently he calls a crisis only to discuss various issues such as his legal situation
or property issues Sometimes it is iust to lure a nurse or other female staff to his cell door. Mental status exam: I saw Mr. Mounson
immediately upon his return from a radiation treatment. He was in a spit shield. He was calm and cooperative with the evaluation and
maintained good eve contact. His speech was normal in rate and volume. He described his mood as depressed. His affect at times was srg,pt
MMSMHM_MMVM€¢ Based on the content of the conversation. His thoughts at times were circumstantial but were
logical for the mos_tj)art. He did not experience hallucinations during the interview. He did express a number of beliefs including that his food
was beingpoisoned. that there was a conspiracy against him and that he was being tortured and persecuted by staff at Tamms. Although he made

frequent references to preferring to be dead. he stated a number of times that he wouldn't actively attempt suicide. He also said on a number of

 

occasions that he wanted to live and not give up. He provided his own abstraction that was "the apple doesn't fall far from the tree" and was able
to use it in an appropriate context. l did not specifically test his other cognitive skills His insight and judgment appeared impaired. After
reviewing Mr. Mounson's record and evaluating him personally. I had an understanding of the diflicu|y in reaching a diagnosis He manifests a
number of signs and symptoms that are not completely typical of one disorder. Although he does have prominent feelings of persecution`in
smifrc instances he can be reasoned with and change his mind, but his pervasive pattem. present for years is to view others with suspicion. To
me this appears to be more consistent with a Paranoid Personpmy Disorder than Schizophrenia. He also maintains a rather eccentric religious
belief that isn’t entirely consistent with delusional thinking in that he references an ability to communicate with God but describes it more as a
sensation. When he describes the faces of staff turning into demons. however. this does seem to be more of a psychotic type of regiLssion. lt
seems that he is prone to more psychotic type reg[essions under stressors of various sorts which would be consistent with a Borderline

Personality Disorder. He also shows multiple features of an Antisocial Personality Disorder. He also does have an affective component to his

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Mental Health Evaluation Mounson. Henrv N73406 8/5/08 Page 3 Ef>( h it b t~i» E\{O`jua~~j_l¢'c n

illness which seems pervasive as well. lie seems to have a chronic type of depressed mood consistent with his feelings of being persecuted and
disliked by others However, he does not meet the full criteria for a Major Depressive Disorder. His §pisodes with agg'gession under stress are
consistent with an Antisocial as well as Borderline or even Paranoid Personality Disorder. lt is unclear how these symptoms responded when he
was treated with ami-psychotic medication. Mr. Mounson himself rpports that he did not feel any less suspicious of others on these medications
but only felt slowed down. ln fact he was given these medications when he was agg;essive and review of recprds does not clarify whether his
response was positive due to diminished aggressive episodes or diminished feelings of persecution. lt seems to be that his symptoms have been
pervasive, long standing and worsen with certain stressors. This is opposed to discreet episodes of mood or psychotic sgnptoms that last for
week or two at a time and are clearly responsive to medication and starting in adulthood. For this reason l believe that Mr. Mounson suffers from
a commed Axis ll pathology_rgther than Axis l pa_thology.

Assessment/Diagnosis:

AX|S ll Exhibitionism

Sexual Sadism

AXlS ill Paranoid Personalig Disorder, this is due to a pervasive distrust and suspiciousness of others such that their motives are intepreted as .
malovelent which began in early adulthood or prior and is present in a variety of context and include: l: suspicion without sufficient basis that
others are exploiting. harming or decieving him. 2: preoccupMi with trustworthiness of those around him.. 31 reluctance to confide in others
because of unwarranted fears that the infprmation will be used maliciously against him. 4: reads hidden meaning or threatening meanings into
benign remarks or eventsL 5: persistently holds grudges. 6: perceives attacks on his character or reputation that aren't apparent to others and is
guick to react angp'ly or counterattack. These smptoms are taken virtually verbatium from DSMV TR.

He also meets the critiera for Antisocial Personaligg Disorder in that he has demonstrated pervasive pattern of disregard for and violation of the
rights of others indicated by: l: failure to confprm to social norms with respect to lawful behaviors, 2: deceitfulness, indicated by lying, use of
conning others for personal profit or pleasure. 3: impulsivity, failure to plan ahead, 41 irritabilig and aggr_'essiveness indicated by repeated
physical fights or assaults, 5: reckless disregard for the safety of self and others,6: lack of remorse as indicated by being indifferent to or
rationalizing, having hurt or mistreated others

Borderline Pesonality Disorder: as shown by a pervasive pattern ot`instabilitv with interpersonal relationst_s. self-image and affects and
marked impulsivig¢ which is present in a variety of contexts indicated by: l: frantic efforts to avoid real or imagined abandoment, 2: patterns of
unstable interpersonal relationships characterized by extremes of idealization and devaluation. recurrent suicjdal behavior and gestures or threats

or self-mutilating behavior. 4: affective instability due to marked reactivity of mood lasting rarely more than a few days and showing intense

 

rn his paranoid ideation. His episodes of religious preoccupation becoming more prominent and expe_rjences of illusions and possibly

hallucinations might also fit into this categog; but may also be consistent with schizotypal personality features such as odd beliefs and magical
thinking

AX|S ll|l Sguamous cell carcinoma of the true vocal cord and Hepatitis C

Sum mary and Trealmenl Planikggrding his competency to make medical decision. it should be noted that his current behavior is not
atypical of his behavior for the past twenty years ln other words he frequently requ_ests and demands medical attention and when he receives it
olien refuses treatment. l believe that this is a characteristic consistent with his character pathology as delin§ated above._ l-le has a complete
understanding of his medical situation and explained it to me including his prognosis. He is well aware that his life could be at stake without
compliance with the treatment. l-le is unable to give a consistent reason for the times he has refused radiation treatment. and l believe that this is
because there have been different reasons motived by various aspects of his character pathology. I believe that it is mainly motivated by his
percgption of others as uncaring and unfeeling toward him which is represented by being denied reguests such as a transfer or even soap, When
this occurs immediately prior to his radiation treatment. his immediate priorty becomes exploiting his perceived victim role and refusing to
cooperate with procedures necessary for him to obtain his treatment. He has never stated that he does not want treatment; he only states that he

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does not like the circumstances under which he is to receive it. When he does go for treatment and engage with the physicians outside of the
facili§y treating him. he behaves appropriately and is cooperative Other physicians have received informed consent from him. Dr. Powers` his
prima;y care physician at Tamms, has never fel; that Mr. Mounson did not understand or was not capable of making his own medical decisions,
and he has demonstrated that he has an awareness of his medical situation. What prevents him from consistently engaging in treatment is a result
of his character pathology rather than a serious mental illness and is basically a volitional choice he makes He does have reasons each time for
making the decisions he does. Therefore, I go believe that he is competent to make his own medical decisions Howeverl l also believe that it
would be helpful for him to be more compliant with is treatment if he felt cared for. Unfortunately given his suspicious nature it is difficult to
convince him that one does care about his health. He was willing to work with me given that l do not yet have a history of working with him.
Also l am a female. However. the combination of my willingness to engz_ige in treatment with him as well as initiating an an_ti-p_sychotic
medication to try to temper his paranoid tendencies may help him cope with his immediate situation a little better and at least for some time
pppropriately engage in treatment. However. just as h_as_l_igppened with virtually every previo_i.i_s clinician he has worked with. it is likely that he
will be suspicious of me at some point or behave in an inappropriate ways with me including gmg to establish a romantic or sexual connection.
l informed him of my concerns but also indicated that l was willing to try if he would. We reviewed some potential medications including
Risperidone and Haloperidol. We reviewed the potential risks and benefits of each. Ultimately he agreed to a trial of Risperidone. l will start a
low dose and titi“ate it up as tolerated. l will then f/u with him every three weeks l emphasized with him that pgrt of his working with me was
behaving appropriately at medication administration times with the nurses If it is p_os_sible I would also try to postpone his ability to review his
medical records until aher the treatments are complete given his tendency to misconstrue statements documented or the intention of the clinician.
This might interfere again with his compliance with life sustaining treatments I will initiate the Risperidone and f/u with him regularly

l. Discussed side effects to current psychotropic medication.

2. Any emergency arising out of these were clarified and the procedure to get help outlined.

3. Inmate's problem and diagnosis discussed with staff.
4. Follow up appointment is as above:

5. Ininate ex resses no known aller ies to s chotro ic medication.

 

6.Inmate's current s chotro ic medication includes:

a. Risperidone 2 mg g hs

 

 

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SignaturefTitle LJ ’ Date Supervisor Signature (lf applicab|e) Date
Dr. Claudia Kachigian
Psychiatn‘st
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